      .
                 Case 3:20-cr-01106-DMS Document 26 Filed 04/17/20 PageID.54 Page 1 of 2
I,
     AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                           UNITED STATES DISTRICT COUR                                                          ::_, .,. :::)l..iRT
                                                                                                                                      C;.;.IFORNIA
                                                SOUTHERN DISTRICT OF CALIFORNIA                                                             DEPUTY

                  UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                      V.                                 (For Offenses Committed On or After November 1, 1987)

             JUAN CRISTINO GUEVARA-MARTINEZ                                 Case Number:         20CR1106-DMS

                                                                         Max Schoening FD
                                                                         Defendant's Attorney
     USM Number                       95164298


     THE DEFENDANT:
     IZI pleaded guilty to count(s)          1 of the Information
                                            --------------------------------
     •   was found guilty on count(s)
         after a olea of not guiltv.
     Accordingly, the defendant is acljudged guilty of such count(s), which involve the following offense(s):
                                                                                                                            Count
     Title & Section                   Nature of Offense                                                                  Number(s)
     8USC 1326                         ATTEMPTED REENTRY OF REMOVED ALIEN                                                     1




         The defendant is sentenced as provided in pages 2 through                 2            of this judgment.
     The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
     D     The defendant has been found not guilty on count(s)

           Count(s)                                                 is          dismissed on the motion of the United States.

           Assessment: $100.00 ordered waived


           NTA Assessment*:$
           *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
     IZI   No fine                •        Forfeiture pursuant to order filed                                       , included herein.
            IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
     change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
     judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
     any material change in the defendant's economic circumstances.

                                                                         April 17. 2020
                                                                         Date of Imposition of Sentence



                                                                         HON. Da            . abraw
                                                                         UNITED STATES DISTRICT JUDGE
           Case 3:20-cr-01106-DMS Document 26 Filed 04/17/20 PageID.55 Page 2 of 2
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:                JUAN CRISTINO GUEVARA-MARTINEZ                                           Judgment - Page 2 of2
CASE NUMBER:              20CRI I 06-DMS

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 TIME SERVED.




       Sentence imposed pursuant to Title 8 USC Section 1326(b).
 •     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant must surrender to the United States Marshal for this district:
       •     at                             AM.                on
                                                                    ------------------
       •     as notified by the United States Marshal.

       The defendant must surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •     on or before
       •     as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on
                                ------------- to - - - - - - - - - - - - - - -
 at
      ------------ ,                        with a certified copy of this judgment.


                                                                    UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL




                                                                                                       20CR1106-DMS
